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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                           CASE NO. 11cr1447-LAB-2
                                                           and 15cv594-LAB
 12                                        Plaintiff,
              vs.                                          ORDER DENYING MOTION
 13                                                        PURSUANT TO 28 U.S.C. § 2255
       PABLO OSCAR ANAZALDO-
 14    CONTRERAS,
 15                                     Defendant.
 16
 17          On June 17, 2011, Defendant Pablo Oscar Anzaldo-Contreras was convicted by a jury
 18   of possession of marijuana with intent to distribute, importation of marijuana, and conspiracy
 19   to distribute marijuana. He took an appeal, which was unsuccessful. The Ninth Circuit issued
 20   its judgment on November 6, 2013, affirming the Court’s judgment, and the mandate was
 21   entered on November 29, 2013. (See Docket no. 107.)
 22          Anzaldo-Contreras later filed a motion to vacate, pursuant to 28 U.S.C. § 2255.
 23   (Docket no. 115.) The motion was received on March 11, 2015, but is dated February 28,
 24   2015. For purposes of applying the prisoner mailbox rule, the Court’s working assumption
 25   is that he delivered his motion to authorities for mailing on February 28, 2015. See Lewis v.
 26   Mitchell, 173 F.Supp.2d 1057, 1059 (C.D. Cal., 2001) (citing cases for the principle that, in
 27   the absence of other evidence, the date a pleading is signed is presumed to be the date the
 28   prisoner delivered it to prison authorities, for purposes of the prisoner mailbox rule). Because


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  1   Anzaldo-Contreras petitioned for certiorari, his conviction became final on March 3, 2013, the
  2   date the Supreme Court denied his petition.
  3          Anzaldo-Contreras raises claims of ineffective assistance of trial and appellate
  4   counsel. To the extent he raises issues in his motion that he unsuccessfully raised on appeal,
  5   the Court has no authority to overrule the Ninth Circuit’s decision rejecting those claims.
  6          The entire argument consists of nitpicking his attorney’s performance, suggesting
  7   arguments or suggestions he should have made. In the introductory section, he argues his
  8   counsel should have disputed the suggestion that he stole some of the marijuana. (Motion
  9   at 11–12, 30.) He argues his counsel should have objected to his being punished for failing
 10   to admit guilt. (Id. at 11–12, 23, 33–35.) He also suggests that after the parties had
 11   presented their arguments and the Court was making its findings, his counsel should have
 12   interrupted the Court to object. (Id. at 23.). In the main section of his motion, Anzaldo-
 13   Contreras argues his counsel should have moved to suppress his arrest. (Motion at 29–30.)
 14   He argues his counsel was ineffective for failing to request minor role. (Id. at 30–31.) He
 15   repeats his claim that he did not steal any marijuana and claims his counsel "slept through"
 16   this. (Id. at 32–33.) He argues his counsel was ineffective for not insisting that he receive
 17   credit for acceptance of responsibility. (Id. at 34–35.) He also argues his appellate counsel
 18   was ineffective for failing to raise these ineffective assistance of counsel claims. (Id. at
 19   35–37.) He argues that an evidentiary hearing is required, and seeks to have his sentence
 20   vacated. None of these arguments have any merit.
 21          The transcript of sentencing was lodged in connection with Anzaldo-Contreras’
 22   appeal, and is filed in the docket. (Docket no. 77.) Claims of ineffective assistance of
 23   counsel are analyzed under the standard set forth in Strickland v. Washington, 466 U.S. 668,
 24   687–88 (1984). Measured by this standard, Anzaldo-Contreras’ claims of ineffectiveness of
 25   trial and appellate counsel easily fail.
 26          First, the government contested the discrepancy in the weight of marijuana, which
 27   gave rise to a suspicion that Anzaldo-Contreras might have stolen some of it. (See Tr.,
 28   17:12–19:10.) And Anzaldo-Contreras himself contested it. (Id. at 30:2–7.) There was no


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  1   need for defense counsel to contest it too. Moreover, the Court was not completely
  2   convinced he had stolen any (id., 23:17–19), although it suspected he did. (Id. at 39:9–13.)
  3             And in any event, the possibility that he had stolen marijuana made no real difference.
  4   The Court principally relied on the possibility when it was considering whether there was any
  5   reason to sentence him to less than the low end of the guidelines sentence. (Id. at
  6   38:20–39:18.) Even if the Court were convinced he had not stolen or planned to steal any
  7   marijuana, a defendant’s not having stolen marijuana is not a reason to reduce his sentence.
  8             The allegedly unconstitutional seizure Anzaldo-Contreras thinks his attorney should
  9   have challenged was Anzaldo-Contreras’ own arrest, rather than evidence obtained in
 10   connection with the arrest. (Motion at 29–30.) But such a challenge would have been
 11   unsuccessful, under the Ker-Frisbie doctrine. See I.N.S. v. Lopez-Mendoza, 468 U.S. 1032,
 12   1039–40 (1984) (explaining that the defendant and his identity are not suppressible even if
 13   the arrest was unlawful).
 14             Anzaldo-Contreras was not entitled to credit for acceptance of responsibility after he
 15   went to trial and even after trial denied having done anything wrong. His attorney was
 16   therefore not ineffective for failing to ask for it, or for failing to object to the Court’s
 17   observation that he continued to maintain his innocence. He was also not entitled to minor
 18   role, and would not have received it even if his attorney requested it. (See Tr. at 23:12–16
 19   (Court’s observation that evidence at trial had shown Anzaldo-Contreras "was involved in this
 20   up to his hips"); 39:1–8 (emphasizing the huge amount of marijuana involved and Anzaldo-
 21   Contreras’ close involvement in it); 41:23–25 (emphasizing that Anzaldo-Contreras "had a
 22   big part" in the criminal enterprise).)
 23             The claim that defense counsel should have interrupted the Court to dispute its
 24   findings (Motion at 23) is frivolous. After both sides make their arguments, it is time for the
 25   Court to discuss the various sentencing factors and sentence the defendant. What is more,
 26   the objections Anzaldo-Contreras thinks his counsel should have made (id.) would have
 27   failed.
 28   ///


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  1          In short, Anzaldo-Contreras wishes his trial counsel had argued differently. But this
  2   does not give rise to an ineffective assistance of counsel claim. The Court has reviewed the
  3   motion, and he has not identified any way in which his trial counsel was ineffective. Because
  4   of this, his appellate counsel was not ineffective for failing to claim that his trial counsel was
  5   ineffective. See, e.g., Juan H. v. Allen, 408 F.3d 1262, 1273 (9th Cir. 2005) (“[T]rial counsel
  6   cannot have been ineffective for failing to raise a meritless objection.”); Rupe v. Wood, 93
  7   F.3d 1434, 1445 (9th Cir.1996) (“[T]he failure to take a futile action can never be deficient
  8   performance . . . .”)
  9          The motion is DENIED and a certificate of appealability is also DENIED.
 10
 11          IT IS SO ORDERED.
 12   DATED: March 20, 2015
 13
 14                                                 HONORABLE LARRY ALAN BURNS
                                                    United States District Judge
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